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                      IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH


 UNITED STATES OF AMERICA,
                                               UNITED STATES’ POSITION
                Plaintiff,                     REGARDING DETENTION

 v.
                                               Case No. 2:24mj541 DAO
 LEE HAYDEN ANGLIN,

                Defendant.




☐       The United States is not seeking detention.

☐      Detention is not at issue because this is an immigration reentry case where the
defendant has opted to participate in the fast-track program, which includes agreeing to
detention for the pendency of this case.

☒       The United States moves for detention based on current information. The
United States’ positions in this preliminary pleading could change after reviewing the
Pretrial Report or learning of additional evidence. The United States reserves the right to
assert positions even if the boxes next to those positions are not checked below, raise
additional arguments, and file additional pleadings in support of detention. The United
States’ motion for detention is:

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☒ Pursuant to 18 U.S.C. § 3142(f)(1) because defendant is charged with:
      ☐ (A) a crime of violence (see 18 U.S.C. § 3156(a)(4)), a violation of 18 U.S.C.
        § 1591 (sex trafficking of children), or an offense under § 2332b(g)(5)(B)
        (specific enumerated crimes) for which a maximum term of imprisonment of
        10 years or more is prescribed; or
      ☐ (B) an offense for which the maximum sentence is life imprisonment or death;
        or
      ☒ (C) an offense for which a maximum term of imprisonment of 10 years or
        more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-
        904), the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-
        971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
      ☐ (D) any felony if the defendant has been convicted of two or more offenses
        described in (a) through (c) above, or two or more State or local offenses that
        would have been offenses described in (a) through (c) above if a circumstance
        giving rise to Federal jurisdiction had existed, or a combination of such
        offenses; or
      ☐ (E) any felony that is not otherwise a crime of violence but involves: (i) a
        minor victim; (ii) the possession or use of a firearm or destructive device (as
        defined in 18 U.S.C. § 921); (iii) any other dangerous weapon; or (iv) a failure
        to register under 18 U.S.C. § 2250;


               OR

☒ Pursuant to 18 U.S.C. § 3142(f)(2) because the case involves:

      ☒ (A) a serious risk the defendant will flee; or
      ☐ (B) a serious risk the defendant will obstruct or attempt to obstruct justice, or
        threaten, injure, intimidate, attempt to threaten, injure or intimidate a
        prospective witness or juror.

                                   Procedure

       The defendant may seek a continuance of the detention hearing of up to five days,
and the United States may seek a continuance of up to three days. 18 U.S.C. § 3142(f).
During any such continuance, the defendant shall be detained. Id. The rules concerning
the admissibility of evidence do not apply at the detention hearing. Id. The United States
has the burden of persuasion by clear and convincing evidence that no condition or

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combination of conditions of release will reasonably assure the safety of any other person
and the community or by a preponderance of evidence that no condition or combination
of conditions of release will reasonably assure the defendant’s appearance as required.
Id.; United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).

                                Rebuttable Presumption

☒ A rebuttable presumption applies, and the defendant bears the burden to
  produce some credible evidence to rebut this presumption. The United States
  acknowledges that it retains the burden of persuasion. The statutory presumption
  applies:
      ☐ Pursuant to 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
        presumption that no condition or combination of conditions will reasonably
        assure the safety of any other person and the community because:
             (A) the defendant has previously been convicted of a Federal offense that is
                 described in 18 U.S.C. § 3142(f)(1), or of a State or local offense that
                 would have been such an offense if a circumstance giving rise to
                 Federal jurisdiction had existed; and
             (B) the defendant committed that offense while on release pending trial for
                 a Federal, State, or local offense; and
             (C) a period of not more than five years has elapsed since the date of
                 conviction, or the release of the defendant from imprisonment, for that,
                 whichever is later.
      ☒ Pursuant to 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There
         is a rebuttable presumption that no condition or combination of conditions will
         reasonably assure the appearance of the defendant as required and the safety of
         the community because there is probable cause to believe that the defendant
         committed one or more of the following offenses:
           ☒ (A) an offense for which a maximum term of imprisonment of 10 years
             or more is prescribed in the Controlled Substances Act (21 U.S.C. §§
             801-904), the Controlled Substances Import and Export Act (21 U.S.C.
             §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-
             70508);
           ☐ (B) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
           ☐ (C) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum
             term of imprisonment of 10 or more is prescribed;


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           ☐ (D) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-
             1597) for which a maximum term of imprisonment of 20 years or more is
             prescribed; or
           ☐ (E) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,
             2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2),
             2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260,
             2421, 2422, 2423, or 2425.

                               Factors to Be Considered

        The United States may present arguments, proffer evidence, or provide testimony
at the scheduled detention hearing supporting the detention of the defendant including,
but not limited to:
☐ The nature and circumstances of the offense charged, including whether the offense is
  a crime of violence, a violation of section 1591, a Federal crime of terrorism, or
  involves a minor victim or a controlled substance, firearm or destructive device. (18
  U.S.C. § 3142(g)(1)).
☒ The weight of evidence against the defendant. (18 U.S.C. § 3142(g)(2)).
☒ The history and characteristics of the defendant including the defendant’s
  character, physical and mental condition, family ties, employment, financial
  resources, length of residence in the community, community ties, past conduct,
  history relating to drug or alcohol abuse, criminal history and record concerning court
  proceedings. (18 U.S.C. § 3142(g)(3)(A)).
☐ Whether, at time of the current offense or arrest, the defendant was on probation,
  parole, or other release pending trial, sentencing, appeal, or completion of sentence
  for an offense under Federal, State, or local law. (18 U.S.C. § 3142(g)(3)(B)).
☒ The nature and seriousness of danger to any person or to the community that
  would be posed by the defendant’s release. (18 U.S.C. § 3142(g)(4)).
☐ The defendant’s lack of legal status in the United States. The defendant’s legal status
  is:
☐ How the defendant would be subject to removal or deportation after serving a period
  of incarceration.
☐ The defendant’s significant family or other ties outside of the United States.
☐ The defendant’s use of aliases or false documents.
☒ The defendant’s prior attempts to evade law enforcement.

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☐ How the defendant’s proposed residence, employment, or proposed treatment
  programs have not been verified.
☐ The defendant’s prior failures to appear for court proceedings.
☒ Other reasons including:

Nature and Characteristics of the Investigation and Offense

       This prosecution resulted from a long-term investigation conducted by the Federal
Bureau of Investigation (FBI). The FBI initiated their investigation based on source
reporting about specific members of the United Aryan Brotherhood and UAB associates
responsible for transporting and distributing large amounts of crystal methamphetamine,
fentanyl, and cocaine in Texas, Oklahoma, Missouri, Arkansas, and New Mexico.

       UAB is a white supremacist gang based in the Oklahoma state prison system. The
UAB has long utilized the sale and distribution of methamphetamine, cocaine, and
fentanyl, as well as threats of violence, as a means by which to gain power amongst the
hierarchical prison gangs. UAB members utilize subordinate members and associates of
the organization of the prison system to conduct their illegal activities, including drug
distribution, money laundering, firearms trafficking and violent crimes.

        Based on historical and current information provided by confidential human
sources, sources of information, and information gathered by law enforcement, agents
identified several UAB gang members working with a Mexican Transnational Criminal
Organization and other drug suppliers to make money for UAB, its associates, and to
provide funding for gang members who are incarcerated. Furthermore, agents identified
Brandon Maxwell (Maxwell) as a “council” member of the UAB and a source of supply
for bulk quantities of methamphetamine.

        During the investigation, agents relied upon confidential sources to assist with
either controlled or undercover purchases. Lee Hayden Anglin (Anglin) was a
confidential source who entered into an agreement with FBI to serve as a cooperator and
to assist with the ongoing investigation. Anglin entered into a written agreement with
agents requiring him to seek agents’ explicit authorization for any and all dealings or
communications with members of the UAB. Additionally, with each authorized
transaction in which Anglin was involved, FBI agents followed strict confidential source
protocols.

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        In July of 2023, FBI agents, while working in an undercover capacity, learned
from Anglin’s source of supply that Anglin was coordinating unauthorized narcotics
transactions on the side. Specifically, Anglin managed a narcotics distribution cell with
named co-conspirators James Hodges, Tisha Ann Savage, and Kenneth Carter.

       Anglin’s unauthorized actions placed the undercover FBI agents in danger.
Agents confirmed Anglin’s unauthorized actions through multiple sources. Ultimately,
agents confronted Anglin regarding his unauthorized conduct and interviewed him in
person in Vernal, UT on August 10, 2023. During that interview Anglin admitted to
brokering multi-kilogram crystal-methamphetamine transactions with Maxwell without
the agents’ knowledge or authorization. Maxwell and Anglin agreed upon a fixed price
per kilogram of $3000.00, which was subsequently reduced to $2500.00 per kilogram.
Anglin further admitted to coordinating with Maxwell approximately 8 to 10 loads of, at
a minimum, 20 kilograms of methamphetamine per load. Anglin’s unauthorized
transactions occurred over approximately 4-5 months.

       Additionally, Anglin has strong ties to the UAB. Anglin obtained
methamphetamine from a high-ranking council member of the UAB and relied on a
lower level UAB members to assist with the sizable narcotics distribution. Anglin
admitted to obtaining methamphetamine and causing it to be transported from the
Northern District of Oklahoma to Missouri for distribution.

Relevant Conduct

   A conservative estimate of the controlled substances attributable to Anglin’s relevant
conduct is approximately 300 kilograms of methamphetamine.

Criminal History

     • Anglin entered a no contest plea to mail fraud in July 2009 in Northern District of
       Illinois, Eastern Division 06-CR-197 (Appellate Case No. 10-3857). In November
       2010, the Court sentenced Anglin to 180 months in prison. In 2018, Anglin was
       released and placed on probation.

     • Anglin violated the terms of his probation and failed to report back to prison on
       June 29, 2018. Anglin became a federal fugitive, and an arrest warrant was issued
       on July 9, 2018. Anglin was taken into custody by law enforcement in late July
       2018 after law enforcement located him in Orland Park, IL.

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Rebuttable Presumption

       The rebuttable presumption (as to defendant Anglin) applies to Counts 19, 21, 23,
and 25 – the penalty for each of these counts is not less than 10 years imprisonment or
more than life imprisonment, a fine not to exceed $10,000,000, at least 5 years supervised
release.

                                  Victim Notification

☐ The United States has notified any identified victim, or attempted to do so, pursuant to
  18 U.S.C. § 3771.

      The position of the victim(s) on the detention of the defendant is:


      ☐ The victim(s) in this matter seek(s) a no contact order.

☒ This matter does not involve a victim requiring notification.


DATED this 30th day of May 2024.

TRINA A. HIGGINS
UNITED STATES ATTORNEY




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BRYAN N. REEVES
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